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                          EXHIBIT 8




DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
RESPONSE TO MOTION FOR SUMMARY
JUDGMENT - 232
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DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
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             If that is agreeable, I can prepare the stip and order.

             B. Regards,



             J. Curtis Edmondson, Patent Attorney | Edmondson IP Law
             USPTO 57027 | CA SBN 236105 | WA SBN 43795 | DC BAR NO 998407 | CA PE
             13377| WA PE 43728
             Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR 97124
             ph: (503) 336-3749 | fax: (503) 482-7418
             jcedmondson@edmolaw.com | www.edmolaw.com




                    On April 3, 2018 at 3:37 PM "Bandlow, Lincoln"
                    <lbandlow@foxrothschild.com> wrote:




                    Mr. Edmondson,



                    I thought we were speaking at 12:30. I am, however,
                    working on a draft of the joint report right now, so perhaps
                    we should postpone our call until 3:00 p.m. today so I can
                    send that to you first before we speak.



                    Lincoln Bandlow
                    Partner
                    Fox Rothschild LLP
                    10250 Constellation Blvd., Suite 900

                    Los Angeles, CA 90067
                    (310) 228-2913 - direct
                    (310) 556-9828- fax
                    lbandlow@foxrothschild.com
                    www.foxrothschild.com




DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
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                    From: J. Curtis Edmondson
                    [mailto:jcedmondson@edmolaw.com]
                    Sent: Thursday, March 22, 2018 12:52 PM
                    To: Kiren Rockenstein <kirenr@edmolaw.com>; Bandlow,
                    Lincoln <lbandlow@foxrothschild.com>; Case, Bryan
                    <bcase@foxrothschild.com>
                    Cc: michael@hillsborofirm.com
                    Subject: RE: [EXT] Fwd: Re: Strike 3 v Doe / 2:17-cv-01731-
                    TSZ - R26 conference



                    Lincoln,

                    What time do you have on 4/3? If you can send me your
                    proposed joint status report, I can add my edits.

                    - Curt



                    J. Curtis Edmondson, Patent Attorney | Edmondson IP Law
                    USPTO 57027 | CA SBN 236105 | WA SBN 43795 | DC BAR NO
                    998407 | CA PE 13377| WA PE 43728
                    Venture Commerce Center, 3699 NE John Olsen Ave, Hillsboro OR
                    97124
                    ph: (503) 336-3749 | fax: (503) 482-7418
                    jcedmondson@edmolaw.com | www.edmolaw.com




                             On March 22, 2018 at 3:45 PM "Bandlow,
                             Lincoln" <lbandlow@foxrothschild.com>
                             wrote:



                             I will be teaching a media law class at that
                             time. I can do this call tomorrow.




                             From: J. Curtis Edmondson
                             [mailto:jcedmondson@edmolaw.com]
                             Sent: Thursday, March 22, 2018 12:44 PM
                             To: Kiren Rockenstein <kirenr@edmolaw.com>;
                             Bandlow, Lincoln
DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
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                          <lbandlow@foxrothschild.com>; Case, Bryan
                          <bcase@foxrothschild.com>
                          Cc: michael@hillsborofirm.com
                          Subject: RE: [EXT] Fwd: Re: Strike 3 v Doe /
                          2:17-cv-01731-TSZ - R26 conference



                          Lincoln,

                          Lets shoot for 5pm today. I have to get out
                          by 6pm.

                          - Curt



                          J. Curtis Edmondson, Patent Attorney | Edmondson IP
                          Law
                          USPTO 57027 | CA SBN 236105 | WA SBN 43795 |
                          DC BAR NO 998407 | CA PE 13377| WA PE 43728
                          Venture Commerce Center, 3699 NE John Olsen Ave,
                          Hillsboro OR 97124
                          ph: (503) 336-3749 | fax: (503) 482-7418
                          jcedmondson@edmolaw.com | www.edmolaw.com




                                   On March 22, 2018 at 3:40 PM
                                   "Bandlow, Lincoln"
                                   <lbandlow@foxrothschild.com>
                                   wrote:


                                   Could not get out of client
                                   meeting. Need to reschedule.
                                   Sorry, I had thought I sent an
                                   email to you but it had not sent
                                   because it was hung up on a spell
                                   check.




                                   From: J. Curtis Edmondson
                                   [mailto:jcedmondson@edmolaw.com]

                                   Sent: Thursday, March 22, 2018
                                   12:38 PM

DECLARATION OF ADRIENNE D. MCENTEE IN
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RESPONSE TO MOTION FOR SUMMARY
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                                To: Kiren Rockenstein
                                <kirenr@edmolaw.com>;
                                Bandlow, Lincoln
                                <lbandlow@foxrothschild.com>;
                                Case, Bryan
                                <bcase@foxrothschild.com>
                                Cc: michael@hillsborofirm.com
                                Subject: RE: [EXT] Fwd: Re: Strike
                                3 v Doe / 2:17-cv-01731-TSZ - R26
                                conference



                                Lincoln,

                                We are awaiting on the
                                conference call. Where are
                                you?

                                - Curt

                                J. Curtis Edmondson, Patent Attorney |
                                Edmondson IP Law
                                USPTO 57027 | CA SBN 236105 | WA
                                SBN 43795 | DC BAR NO 998407 |
                                CA PE 13377| WA PE 43728
                                Venture Commerce Center, 3699 NE
                                John Olsen Ave, Hillsboro OR 97124
                                ph: (503) 336-3749 | fax: (503) 482-
                                7418
                                jcedmondson@edmolaw.com |
                                www.edmolaw.com




                                         On March 21, 2018
                                         at 6:20 PM "J.
                                         Curtis Edmondson"
                                         <jcedmondson@edmolaw.com>
                                         wrote:

                                         Lincoln,

                                         12:30pm is good
                                         for us. You can use
                                         our conference call
                                         # - 701-801-1211

                                         Access 503232971

                                         - Curt
DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
RESPONSE TO MOTION FOR SUMMARY
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